        Case 1:21-cv-00971-SCJ Document 102 Filed 09/19/22 Page 1 of 6




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

  AUTO - OWNERS INSURANCE                  )
  COMPANY and OWNERS                       )
  INSURANCE COMPANY                        )
                                           )
            Plaintiff                      )    CIVIL ACTION FILE NO.
                                           )    1:21-cv-00971-SCJ
  v.                                       )
                                           )
  MEP PRO SERVICES, LLC;                   )
  THE WHITING-TURNER                       )
  CONTRACTING COMPANY;                     )
  AND UNITED STATES FIRE                   )
  INSURANCE COMPANY                        )
                                           )
            Defendants.                    )

       NOTICE OF SETTLEMENT AS TO PLAINTIFFS AND UNITED
               STATES FIRE INSURANCE COMPANY

       COMES NOW, Defendant United States Fire Insurance Company (“U.S.

Fire”) and confirms its settlement with Plaintiffs Auto-Owners Insurance

Company (“Auto- Owners”) and Owners Insurance Company (“Owners”) (Auto-

Owners and Owners together “Plaintiffs”) and files this Notice of Settlement,

showing this Court as follows:

       1.       On September 14, 2022, Plaintiffs filed a Notice of Settlement

stating in pertinent part the following:
          Case 1:21-cv-00971-SCJ Document 102 Filed 09/19/22 Page 2 of 6




        a.       Plaintiffs have reached a settlement with MEP Pro Services, LLC

        (“MEP Pro”) and MEP Pro has executed a settlement agreement.

        b.       Plaintiffs have reached a settlement with Whiting-Turner Contracting

        Company (“Whiting-Turner”) and Plaintiffs and Whiting-Turner were

        finalizing related paperwork, which was anticipated to be completed within

        two weeks of Plaintiffs’ September 14, 2022, Notice of Settlement.

        Plaintiffs also noted that one element of consideration, the monetary

        consideration, had already been transmitted to be held in trust by Whiting-

        Turner’s counsel. Another element of consideration, the dismissal with

        prejudice of the underlying lawsuit, was anticipated to be completed within

        seven (7) days of Plaintiffs’ September 14, 2022 Notice of Settlement.1

        c.       Plaintiffs circulated a proposed Notice of Settlement to all parties and

        Whiting-Turner and MEP Pro did not object to the filing of the Notice of

        Settlement. Plaintiffs further stated that upon the dismissal with prejudice

        of the underlying action, Plaintiffs would file a stipulation of dismissal

        without prejudice of this lawsuit as soon as the parties to this lawsuit

        provide their consent.




1
 On September 16. 2022, Whiting-Turner filed its Stipulation of Dismissal With Prejudice, dismissing all claims it
had against Defendant MEP Pro Services, LLC in Fulton County State Court, Civil Action No. 20-EV-005573.


                                                         2
       Case 1:21-cv-00971-SCJ Document 102 Filed 09/19/22 Page 3 of 6




     2.     Today, September 19, 2022, Defendant U.S. Fire’s counsel instructed

Plaintiffs’ counsel that it agreed to Plaintiffs’ proposed Stipulation of Dismissal

of all Defendants Without Prejudice.

     3.     Defendant Whiting-Turner’s counsel has also agreed to Plaintiffs’

Stipulation of Dismissal Without Prejudice.

     4.     Attached hereto as Exhibit A is a draft Stipulation of Dismissal

Without Prejudice that Plaintiffs’ counsel has prepared and all counsel of record

have approved. Plaintiffs’ counsel has stated that she will file this Stipulation of

Dismissal Without Prejudice after she receives confirmation of approval from

MEP Pro, or she will file a related Motion.


     Respectfully submitted this 19th day of September, 2022.

                                       THE MENECHINO LAW FIRM LLC

                                       John E. Menechino, Jr.
                                       John E. Menechino, Jr.
                                       Georgia Bar No. 502010
                                       3300 Windy Ridge Parkway, SE
                                       Suite 1021
                                       Atlanta, GA 30339
                                       404-388-0433
                                       john@TheMLF1.com
                                       Attorney for Defendant, United States Fire
                                       Insurance Company




                                          3
       Case 1:21-cv-00971-SCJ Document 102 Filed 09/19/22 Page 4 of 6




                         CERTIFICATION OF FONT

      I hereby certify that this pleading has been prepared with Times New Roman

14 point font, as approved by the Court in L.R. 5.1B.

      DATED this 19th day of September, 2022.

                                      THE MENECHINO LAW FIRM LLC

                                      John E. Menechino, Jr.
                                      John E. Menechino, Jr.
                                      Georgia Bar No. 502010
                                      3300 Windy Ridge Parkway, SE
                                      Suite 1021
                                      Atlanta, GA 30339
                                      404-388-0433
                                      john@TheMLF1.com
                                      Attorney for Defendant, United States Fire
                                      Insurance Company




                                         4
        Case 1:21-cv-00971-SCJ Document 102 Filed 09/19/22 Page 5 of 6




                          CERTIFICATE OF SERVICE

      I hereby certify that I have this date electronically filed the foregoing Notice

of Settlement as to Plaintiffs and United States Fire Insurance Company with

the Clerk of Court, which will automatically send e-mail notifications of such

filing to the following attorneys of record:


Mark S. VanderBroek, Esq.                Mark T. Dietrichs, Esq.
S. Jake Carroll, Esq.                    Rebecca E. Strickland, Esq.
Nelson Mullins Riley & Scarborough, LLP  Swift, Currie, McGhee & Heirs
201 17th Street, N.W., Suite 1700        The Peachtree, Suite 300
Atlanta, Georgia 30363                   1355 Peachtree Street, NE
                                         Atlanta, Georgia 30309
Michael K. Wilson, Esq.                  Mark.deitrichs@swiftcurrie.com
Natalie P. Chappel, Esq.                 Rebecca.strickland@swiftcurrie.com
Nelson Mullins Riley & Scarborough, LLP Counsel for Plaintiffs
390 North Orange Avenue, Suite 1400
Orlando, Florida 32801
mark.vanderbroek@nelsonmullins.com
jake.carroll@nelsonmullins.com
mike.wilson@nelsonmullins.com
natalie.chappel@nelsonmullins.com
Counsel      for   The    Whiting-Turner
Contracting Co.

and the following party will be served with such filing by U.S. Mail, first-class

postage prepaid to ensure delivery:


      MEP Pro Services, LLC
      c/o Harold J. Phillips
      30 Dorris Road
      Alpharetta, Georgia 30004




                                           5
 Case 1:21-cv-00971-SCJ Document 102 Filed 09/19/22 Page 6 of 6




DATED this 19th day of September, 2022.

                             THE MENECHINO LAW FIRM LLC

                             John E. Menechino, Jr.
                             John E. Menechino, Jr.
                             Georgia Bar No. 502010
                             3300 Windy Ridge Parkway, SE
                             Suite 1021
                             Atlanta, GA 30339
                             404-388-0433
                             john@TheMLF1.com
                             Attorney for Defendant, United States Fire
                             Insurance Company




                                6
